Case 1:23-cv-00822-ADA Document 27-19 Filed 12/22/22 Page 1 of 2




         Exhibit	  Z	  
12/14/22, 12:30 PM     Case 1:23-cv-00822-ADA Document       27-19Entertainment
                                               100 to Sony Interactive Filed 12/22/22
                                                                                - Google Maps Page 2 of 2



                                         1503 Grant Rd #100, Mountain        Drive 20.4 miles, 25 min
                                         View, CA 94040 to Sony Interactive Entertainment, 2207
                                         Bridgepointe Pkwy, San Mateo, CA 94404




                                                                                              Map data ©2022 Google         2 mi



                     via US-101 N                                                25 min
                     Fastest route now due to traffic                        20.4 miles
                     conditions


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